
378 U.S. 575 (1964)
McNERLIN
v.
DENNO, WARDEN.
No. 1117, Misc.
Supreme Court of United States.
Decided June 22, 1964.
ON PETITION FOR WRIT OF CERTIORARI TO THE UNITED STATES COURT OF APPEALS FOR THE SECOND CIRCUIT.
Richard J. Medalie for petitioner.
Louis J. Lefkowitz, Attorney General of New York, Samuel A. Hirshowitz, First Assistant Attorney General, and Ronald J. Offenkrantz, Assistant Attorney General, for respondent.
PER CURIAM.
The motion for leave to proceed in forma pauperis and the petition for a writ of certiorari are granted. The judgment of the United States Court of Appeals for the Second Circuit is vacated and the case is remanded for further proceedings in conformity with the opinion of this Court in Jackson v. Denno, ante, p. 368.
MR. JUSTICE BLACK, MR. JUSTICE CLARK, MR. JUSTICE HARLAN and MR. JUSTICE STEWART dissent for the reasons stated in their dissenting opinions in Jackson v. Denno, supra.
